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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

Tough Mudder Incorporated aka                         Case No. 20-10036-CSS
Tough Mudder, LLC,

         Debtor.                                      Hearing – 02/25/2020 at 1:00 p.m.


OPPOSITION TO CHAPTER 11 TRUSTEE MOTIONS TO SELL ASSETS FREE AND
      CLEAR AND APPROVE ASSUMPTION OF CERTAIN CONTRACTS

         Navy Federal Credit Union (“Creditor”) hereby opposes the Chapter 11 Trustee Motion

to Sell Assets Free and Clear and to Approve Assumption of Contracts docketed as 30

(collectively “Motion”) as follows:

                                PRELIMINARY STATEMENT

         On January 30, 2019, Creditor and Debtor entered into a sponsorship contract (the

“Contract”) whereby Debtor was obligated to provide publicity and allow the marketing

materials from Creditor at the covered events during 2019 and 2020. As consideration, the

Creditor was to provide the marketing materials and personnel at covered events and make a

payment of $250,000.00 for each year of events. The second installment of $250,000.00 was

paid by Creditor at the beginning of 2020 and covered the entire year of sponsorship in certain

locations and races during which the marketing materials and publicity were still required to be

provided.

         On January 7, 2020, before Debtor could perform on the obligations for 2020, Debtor

was forced into an involuntary Chapter 11 bankruptcy. A Trustee was thereafter appointed.

Creditor filed its Proof of Claim as claim 6. Judicial Notice is requested under FRE 201. The




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Trustee filed the Motion seeking Court approval to allow certain assets to be sold to Spartan

Race, Inc. (“Spartan”), including some specified contracts and events.

       In the Motion, in Schedule 1.1.10, all assumed contracts were listed. The Contract with

Creditor was among them. The Trustee also filed a Notice of Assumption at docket 33-2 which

also assumed the Contract. The day prior to the deadline to oppose the Motion, Creditor was

notified, though its counsel, by email from Spartan’s counsel, that the Contract was not being

assumed after all. As a result, Creditor was forced to expedite an opposition out of abundance of

caution given the result this could have on the unsecured class of creditors. At this time, there is

no filing with this Court indicating that the assumption of the Contract has been withdrawn.

                                          ARGUMENT

       Section 365 of the Bankruptcy Code allows the Trustee to reject "any executory contract

or unexpired lease of the debtor." 11 U.S.C. § 365(a). The Bankruptcy Code does not define

"executory contract," but the accepted definition is that of Professor Countryman: "An executory

contract is a contract under which the obligation of both the bankrupt and the other party to the

contract are so far underperformed that the failure of either to complete performance would

constitute a material breach excusing the performance of the other." In re Columbia Gas Sys.

Inc., 50 F.3d 233, 239 (3d Cir. 1995) (citing Sharon Steel Corp. v. Nat'l Fuel Gas Distrib. Corp.,

872 F. 2d 36, 39 (3d Cir. 1989)). The time for determining if a contract is executory is when the

bankruptcy petition is filed. Columbia Gas, supra at 240 (citations omitted).

       The standard to be applied in considering the rejection of an executory contract is the

business judgment test. In re Federal Mogul Global, Inc., 293 B.R. 124, 125 (D. Del. 2003);

Group of Inst. Investors v. Chicago, Milwaukee, St. Paul, and Pac. R.R. Co., 318 U.S. 523,550

(1943). Under the business judgment standard, the sole issue is whether the rejection benefits the



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estate. N.L.R.B. v. Bildisco (In re Bildisco), 682 F.2d 72, 79 (3d Cir. 1982). An executory

contract may only be rejected if the proponent satisfies the business judgment test. In re Chi-Feng

Huang, 23 B.R. 798, 800 (Bankr. 9th Cir. 1982).

        The primary issue is whether the rejection of the contract would benefit general unsecured

creditors. E.g., In re Orion Pictures Corp., 4 F.3d 1095, 1098 (2d Cir. 1993), cert. dismissed, 114 S.

Ct. 1418 (1994); In re Kong, 162 B.R. 86, 94 (Bankr. E.D.N.Y. 1993); In re Lawson, 146 B.R. 663,

664-65 (Bankr. E.D. Va. 1992); In re Audra-John Corp., 140 B.R. 752, 755 (Bankr. D. Minn. 1992).

However, other factors courts may consider include whether (a) the contract burdens the estate

financially; (b) rejection would result in a large claim against the estate; (c) the debtor showed real

economic benefit resulting from the rejection; and (d) upon balancing the equities, rejection will do

more harm to the other party to the contract than to the debtor if not rejected. In re G Survivor Corp.,

171 B.R. 755, 757-58 (Bankr. S.D.N.Y. 1994).

        In this case, if the proposed purchaser is only willing to proceed with a sale based on the

rejection of the Contract, it would not benefit the estate or the unsecured creditors. On the

contrary, the rejection would result in the large unsecured claim filed by Creditor being viable

whereas assumption would result in the satisfaction of the claim with no funds owed and

minimal effort since the events are being held anyway. This Court should not allow the sale of

assets to a party that is not willing to assume the Contract.

        There is no burden on a purchaser of assets to assume the Contract. The only thing left to

do is allow the Creditor to proceed with its marketing efforts and allow those marketing efforts to

be publicized. Since Creditor already paid the full amount owed under the Contract, rejecting the

Contract would violate fundamental principles of fair dealing and give the estate a windfall with

a net reduction in cash to pay the unsecured creditors.




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                                         CONCLUSION

               Creditor is unsure if its Contract is being assumed or not. The documents filed

with this Court show intent to assume. This Court is respectfully requested to review the effect

that approving the Motion would have on the unsecured creditor class in the event the Contract is

rejected by a potential purchaser. There is no reason for the Contract to be rejected as it imposes

no additional burden on the potential purchaser however, it would leave the unsecured creditor

class at a significant disadvantage.

DATED: 2/20/2020                             ALBA LAW GROUP, P.A.

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